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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     NATIONAL SPECIALTY PHARMACY,                       Case No. 23-cv-04357-PCP
                                         LLC,
                                   8                     Plaintiff,                         CASE MANAGEMENT ORDER
                                   9                v.                                      Re: Dkt. No. 101
                                  10
                                         SAMEER PADHYE, et al.,
                                  11                     Defendants.
                                  12
Northern District of California
 United States District Court




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                                  14            Plaintiff National Specialty Pharmacy, LLC has filed an administrative motion seeking to

                                  15   continue all trial-related deadlines by approximately 21 days. Defendant Sameer Padhye opposes

                                  16   the motion. The Court finds that good cause exists to modify the current case schedule. Given the

                                  17   Court’s schedule in other cases and the Court’s practice of allowing sufficient pre-trial time for

                                  18   dispositive motion practice, the trial dates requested by National Specialty Pharmacy are not

                                  19   available.

                                  20            The schedule is therefore amended as follows:

                                  21

                                  22             Deadlines

                                  23        •    Fact Discovery Cutoff                              December 13, 2024

                                  24        •    Designation of Opening Experts with Reports        February 10, 2025

                                  25        •    Designation of Rebuttal Experts with Reports       March 3, 2025

                                  26        •    Expert Discovery Cutoff                            March 28, 2025

                                  27        •    Completion of ADR                                  April 21, 2025

                                  28        •    Filing of Dispositive/Daubert Motion(s)            April 21, 2025
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                                   1           Trial Schedule

                                   2       •   Joint Pretrial Conference                   August 19, 2025

                                   3       •   Jury Trial (4 days)                         September 8, 2025

                                   4

                                   5           IT IS SO ORDERED.

                                   6   Dated: November 22, 2024

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                                                                                            P. Casey Pitts
                                   9                                                        United States District Judge
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Northern District of California
 United States District Court




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